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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA

 VIVIAN S. CAHILL, ET AL.                                 CIVIL ACTION
 VERSUS                                                   NO. 22-543
 GREGORY G. FAIA, ET AL.                                  SECTION "E" (2)



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      Because R. Doc. 75 contains more than 50 pages, counsel must deliver to chambers

within 3 working days a hard copy of the submissions in a binder with tabbed dividers for

all exhibits and attachments. The hard copy of the submissions must be printed from

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number, record document number, filing date, and page number. The cover of the binder

must include the case name, case number, document name, and record document

number. If there are more than five (5) exhibits and attachments, the binder must include

a table of contents describing each exhibit and attachment and listing which tab

corresponds to each exhibit or attachment. No notice of compliance need be filed.

             New Orleans, Louisiana, this 25th day of October, 2023.



                                               SUSIE MORGAN
                                               UNITED STATES DISTRICT JUDGE

                                               Issued for the court by:

                                               Brad Newell
                                               Case Manager - Section "E"
                                               504-589-7714
